Case 1:04-cr-10091-.]DT Document 30 Filed 04/18/05 Page 1 of 6 PagelD 35
UNITED STATES DlSTR|CT COURT

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UN|TED STATES OF AMER|CA 05 MPR la PH le 25
R §§ ii "-
.v- 04-10091-01-T CL(E)H?§T FC:{:¢:§" gm CT
W.D. 1355 i;‘g`_`},qCKSON'
JUST|N MCCOM|C
David W. Campl Retained
Defense Attorney
403 North Parkway

Jackson, TN 38305

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on January 13, 2005.

According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count

Title a section NM££LMJ£ concluded Number(s)
21 U.S.C. § 841(a)(1) Possession of Methamphetamine 05/14/2004 1

with intent to Distribute

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 2 dismissed on the motion of the United States.
lT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all tines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition cf Sentence:
Defendant‘s Date of Birth: 08/30/1982 April 12l 2005
Deft’s U.S. Marsha| No.: 19909-076

Defendant’s Mai|ing Address:
231 Blackberry Hil| Circ|e
Lexington, TN 38351

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cHlEF uNiTED sTATEs Dls'rRicr wer

Thls document entered on the docket sheet in com llance
with nme 55 and/or 32(b) Fnch on H , l ‘1 \ Q § April , 2005

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Case No: 1:O4cr10091-01-T Defendant Name: Justin McComic Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 54 Months as to Count 1 of the lndictment.

The Court recommends to the Bureau of Prisons:

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the U. S. District Clerk's Office in the Order of Surrender.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshai

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Case No: 1:04cr10091-01-T Defendant Name: Justin McComic Page 3 of 5

SUPERV|SED RELEASE

Upcn release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1 of the |ndictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearml ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation offlcer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation ofncer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling. training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence cr
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold. used.
distributed, or administered;

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B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a
law enforcement ofhcer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics. and shall permit
the probation officer to make such notifications and to conhrm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing and/or treatment for
substance abuse as directed by the Probation Office.

2. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth clay after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediate|y.

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FINE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:04-CR-10091 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

David W. Camp

LAW OFFICES OF DAV]D CAl\/[P, PLLC
403 N. Parkway

Jackson, TN 38305

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

